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15
16                                 UNITED STATES DISTRICT COURT

17           NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
18 United States of America,                           Case No. 3:22-cv-3070-TSH
19                    Plaintiff,                       DECLARATION OF RENATO LEITE
20                                                     MONTEIRO
             vs.                                       ADMINISTRATIVE MOTION TO SEAL
21
     Twitter, Inc.,
22                                                     The Hon. Thomas S. Hixson
                      Defendant.
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                               MONTEIRO DECLARATION ISO            ADMINISTRATIVE MOTION TO SEAL
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 1
                              DECLARATION OF RENATO MONTEIRO
 2
            I, Renato Leite Monteiro, declare as follows:
 3
            1.      I am the Global Head of Privacy, Global Data Protection Officer, and Senior Legal
 4
     Director for X Corp., successor in interest to Defendant Twitter, Inc. I make this declaration based
 5
     on personal knowledge and, if called as a witness, I could and would testify competently to the
 6
     matters set forth herein. I make                                          Administrative Motion to
 7
     File Under Seal Certain Documents in Support of X Corp.
 8
     Protective Order & Relief From Consent Order                                    .
 9
            2.      I understand that, by the Administrative Motion, X Corp. seeks to file under seal
10
     certain attachments to its Reply in Support of Motion for Protective Order & Relief From Consent
11
     Order, including a copy of a Cybersecurity Assessment prepared for X Corp. by the consulting firm
12
     FTI Consulting.
13
            3.      I am familiar with                                               by virtue of my role
14
     at X Corp. I am aware that it contains
15
     processes, policies, and procedures that X Corp. keeps confidential in the normal course of business.
16
     X Corp. keeps such information confidential for a number of reasons, including in order to
17
     (1)
18
     be used to identify potential exploits or penetrations, and (2) prevent competitor businesses from
19
     gaining a competitive advantage
20
     that X Corp. lacks about its competitors.
21
            I declare under penalty of perjury under the laws of the United States of America that the
22
     foregoing is true and correct.
23
     DATED:
24
                                                    Renato Leite Monteiro
25
26

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                             MONTEIRO DECLARATION ISO                  ADMINISTRATIVE MOTION TO SEAL
